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Mueller reassigned top FBI agent in Russia probe over anti-Trump texts,
reports say

 

FBI Director Robert Mueller testifies before a Senate Judiciary Committee hearing in Dirksen Building on oversight of the FBI on June
19, 2013 in Washington. Tom Williams / CQ-Roll Call file

Dec. 2, 2017, 1:57 PM EST / Updated Dec. 2, 2017, 3:15 PM EST

By Hallie Jackson and Chelsea Bailey

Special counsel Robert Mueller removed a top FBI agent over the summer helping to investigate Russian interference
in the 2016 election, a spokesman for Mueller's office said Saturday. Confirmation of the agent's dismissal from his role
on Mueller's team came after two reports surfaced that said the agent may have shared texts that were critical of
President Donald Trump.

The agent, Peter Strzok, a counterintelligence veteran, was reassigned when the Justice Department inspector
general's office found potentially disparaging texts he sent to a colleague, The Washington Post and The New York
Times first reported.

 

The matter is now an ongoing investigation by the inspector general's office, the FBI said.

Strzok was exchanging the texts with Lisa Page, an FBI lawyer with whom he was having an extramarital affair, The
Post reported. Page was also on Mueller's team but left two weeks before the alleged anti-Trump texts were found.
NBC News has not confirmed the contents of the messages and other details of Strzok’s removal.

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"Immediately upon learning of the allegations, the Special Counsel's Office removed Peter Strzok from the
investigation,” said Peter Carr, a spokesman for the special counsel's office. "Lisa Page completed her brief detail and
had returned to the FBI weeks before our office was aware of the allegations.”

Strzok had also worked on the FBI's inquiry into whether former Secretary of State Hillary Clinton mishandled
classified information on a private email server, The Times and The Post reported.

 

 

Trump responded to the news in a tweet early Sunday morning.

Donald J. Trump
@realDonaldTrump

Report: “ANTI-TRUMP FBI AGENT LED CLINTON EMAIL
PROBE” Now it all starts to make sense!

112K 9:36 AM - Dec 3, 2017

80.5K people are talking about this

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Strzok's dismissal from the Russia probe came as the Mueller investigation was gaining momentum. FBI agents
searched the residence of Trump's former campaign manager Paul Manafort mere days before Strzok was removed.

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Evidence uncovered during that raid was ultimately used to indict Manafort and his longtime business associate Rick
Gates on 12 charges, including conspiracy against the United States.

 

In May, Mueller, who previously ran the FBI for more than a decade, was tasked with heading the investigation into
potential collusion between the Trump campaign and Russia. The special counsel's office has not said publicly
whether anyone on the campaign conspired with Russia to help Trump win.

Attorney General Jeff Sessions, who has recused himself from matters relating to the Russia investigation, said in a
statement that if proven to be true the agent's actions "would raise serious questions of public trust."

"My job is to restore confidence in the Department of Justice in all aspects of our work and I intend to do so," said
Sessions, whose recusal following revelations that he had failed to disclose meetings with Russia's ambassador to the
U.S effectively paved the way for the appointment of Mueller as special counsel.

"As such, I have directed that the FBI Director review the information available on this and other matters and
promptly make any necessary changes to his management and investigative teams consistent with the highest
professional standards."

Related: Trump tweet suggests he knew Flynn had lied to FBI at time of firing

Meanwhile, the reasons behind Strzok's dismissal was revealed less than a day after Trump's ex-National Security
Adviser Michael Flynn pleaded guilty to giving a false statement to the FBI about his communications with Russia.

Flynn is the first senior White House official to be charged in the special counsel's investigation into Russian meddling
in last year's presidential election. The retired Army general and former head of the Defense Intelligence Agency
during the Obama administration was among Trump's early and most prominent supporters.

Throughout the campaign, Flynn advised then-candidate Trump on national security issues and was even considered
to be a vice presidential candidate.

A source close to the White House told NBC News that the Trump administration was "blindsided" by the news of
Flynn's plea Friday.

 

Related: Michael Flynn pleads guilty to lying to FBI in Mueller probe

And on Saturday, the president made his first public comments about Flynn's plea, in a tweet that appeared to suggest
that he knew Flynn had lied to the FBI at the time he was fired.

A two-page charging document filed Thursday lists two false statements Flynn made about his interactions with
Russian ambassador Sergey Kislyak in late December 2016.

Flynn had contacted the Russians at the urging of two top transition officials, according to a court document.

Three people familiar with the matter told NBC News that one of the officials referenced in the document is Jared
Kushner, Trump's son-in-law and senior adviser. Two people familiar with the matter said the other is K.-T. McFarland,
who served as a deputy national security adviser from January to May.

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National Security

Top FBI official assigned to Mueller’s Russia probe said to have
been removed after sending anti- Trump texts

By Karoun Demirjian and
Devlin Barrett
December 2, 2017

The former top FBI official assigned to special counsel Robert S. Mueller ITI’s probe of Russian interference in
the 2016 election was taken off that job this summer after his bosses discovered he and another member of
Mueller’s team had exchanged politically charged texts disparaging President Trump and supporting Hillary
Clinton, according to multiple people familiar with the matter.

Peter Strzok, as deputy head of counterintelligence at the FBI, was a key player in the investigation into
Clinton’s use of a private email server to do government work as secretary of state, as well as the probe into

possible coordination between the Trump campaign and Russia in the 2016 election.

During the Clinton investigation, Strzok was involved in a romantic relationship with FBI lawyer Lisa Page,
who worked for Deputy Director Andrew McCabe, according to the people familiar with the matter, who
spoke on the condition of anonymity because of the sensitivity of the issue.

The extramarital affair was problematic, these people said, but of greater concern among senior law
enforcement officials were text messages the two exchanged during the Clinton investigation and campaign
season in which they expressed anti-Trump sentiments and other comments that appeared to favor Clinton.

The people discussing the matter did not further describe the political messages between Strzok and Page,

except to say the two would sometimes react to campaign news of the moment.
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“reviewing allegations involving communications between certain individuals, and will report its findings

regarding those allegations promptly upon completion of the review of them.”

A spokesman for Mueller’s office said Strzok was removed “immediately upon learning of the allegations” and
added that Page left the Mueller team two weeks before it became aware of the allegations.

The FBI declined to comment.
The Post repeatedly sought comment from Strzok and Page but got no response.

Defenders of Page and Strzok insisted that the issue is “overblown” and that there was no misconduct
between the two.

A friend of Page’s said there was no professional misconduct at issue in the matter, and she said Page left the

Mueller team in July before any of the issues came to light.
Page also no longer works much with McCabe, these people said.

When the issue arose, Strzok was taken off the Mueller team in late July, and he was given a job in the human

resources division of the FBI — widely viewed internally as a demotion, according to people familiar with the
matter.
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A former senior Trump administration official said Strzok was evenhanded in all his dealings with the Trump
White House. “I had the occasion to work closely with Special Agent Peter Strzok and never experienced even
a hint of political bias. He was one of the most competent [counterintelligence] agents, and a role model,” the
official said. “The country is tearing itself apart, and men like Pete Strzok are victims. The enemy is better off

with him sidelined,” the former official added, referring to foreign adversaries.

At the time of the two departures from Mueller’s group, no one publicly linked them. For months, officials
have refused to explain why Strzok was reassigned, but people familiar with the matter said it was ultimately

Mueller’s decision.

Among federal law enforcement officials, there is great concern that exposure of the texts they exchanged may
be used by the president and his defenders to attack the credibility of the Mueller probe and the FBI more
broadly, according to the people familiar with the matter.

Defenders of Strzok and Page inside the FBI said that because there was no direct supervisory role between
Page and Strzok in the workplace, there wasn’t anything professionally wrong about having an affair, but they
added that they understood why Mueller would not want anyone engaged in such conduct on his team. For
one thing, if a foreign intelligence agency learned of such an affair, they could try to use it as a means of
blackmail, although there’s no evidence anyone outside the FBI was aware of the relationship.

The president’s most vociferous defenders in Congress have called for a special counsel to investigate how the
FBI handled the Clinton probe and other Clinton-connected matters. Word of the texts could give new fuel to

those demands.

The Clinton investigation formally ended in July 2016, when FBI Director James B. Comey announced he
would recommend Clinton face no charges for her use of a private email server as secretary of state. But the
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issue was resurrected fn late ctober, when Comey informe congressional leaders that the BI had

discovered new Clinton emails on a laptop belonging to former congressman Anthony Weiner, then the
subject of a separate FBI investigation. Days later, Comey announced that the emails on the laptop did not
change the FBI’s view of the case.

Clinton and her supporters say Comey’s moves in October cost her the 2016 election, and Trump and his
Republican allies have used it to justify Comey’s firing — the event that ultimately led to Mueller’s
appointment as special counsel.

A lawyer for Comey said the former FBI director would not comment on the situation concerning Page and
Strzok.

Mueller has so far charged four people in his investigation of possible coordination between the Trump
campaign and Russian officials, most recently former national security adviser Michael] Flynn. Of the four,
two have pleaded guilty to lying to the FBI — Flynn and a former Trump campaign adviser.

During the Clinton email investigation, Page was a regular participant when Comey would hold “skinny
group” meetings on the case — a small collection of advisers who gathered to address sensitive cases,
according to people familiar with the case.
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Current and former FBI officials say the Strzok matter points to a larger unresolved issue facing the agency as
it tries to investigate the president and make a fresh start with a new director, Christopher A. Wray. Much of
the agency’s senior leadership jobs are currently filled by people who were put in those positions by Comey,
and Wray has yet to make many significant changes at the top. But a major house cleaning by the new
director is widely anticipated inside the bureau.

McCabe, the deputy director, has faced repeated questions from the White House and Republican lawmakers
about whether he should have been involved in the Clinton case at all — given the hundreds of thousands of
dollars in political donations made by a key Clinton ally to McCabe’s wife, a 2015 candidate for political office
in Virginia.

Adam Entous contributed to this report.

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